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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


In re: The Home Depot, Inc., Customer
Data Security Breach Litigation

This document relates to:               MDL No. 14-02583-TWT

ALL FINANCIAL INSTITUTION
CASES


MEMORANDUM OF LAW IN SUPPORT OF HOME DEPOT U.S.A., INC.
    AND THE HOME DEPOT, INC.’S MOTION TO DISMISS THE
 FINANCIAL INSTITUTION PLAINTIFFS’ CONSOLIDATED CLASS
                  ACTION COMPLAINT
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                               INTRODUCTION

      The Financial Institution Plaintiffs’ (“Banks”) Consolidated Class Action

Complaint (“Complaint”) is filled with rhetoric and sensational claims as well as

legal conclusions couched as factual allegations.      Noticeably absent is any

plausible allegation of a concrete injury traceable to Home Depot U.S.A., Inc. or

The Home Depot, Inc.1 (collectively, “Home Depot”) giving rise to Article III

standing. No individual Bank alleges any harm that it specifically incurred as a

result of the Home Depot data breach, and the majority of the types of damage the

Banks seek to recover are expenses voluntarily incurred to protect against possible

future harm.   Under Supreme Court precedent, including Clapper v. Amnesty

International USA, 133 S. Ct 1138 (2013), these expenses cannot confer standing.

      In the Complaint, the Banks fail to acknowledge key contracts that govern

the claims they assert here – such as contracts between the “Card Brands” (such as

Visa and MasterCard) and the Banks and contracts between the Card Brands and

Acquiring Banks – and the Card Brands’ regulations, which also apply to the

Banks. These contracts and regulations provide an important context, framework,

and lens through which this litigation and the Banks’ claims should be viewed and

this Rule 12 motion evaluated. The contracts and regulations, which the Banks
1
  Home Depot reserves the right to move for summary judgment on the improper
joinder of The Home Depot, Inc. as a defendant in this lawsuit.
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voluntarily agreed to, provide specific processes for the reimbursement of certain

fraud and operating expenses in the event of a data breach. In other words, the

Banks seek to recover certain financial costs from Home Depot here that are also

being sought from Home Depot in an ongoing “Card Brand Recovery Process”

through the Card Brand contracts and their various regulations.

      The Banks cannot avoid the impact of the Card Brand Recovery Process

simply by failing to acknowledge it. The Banks’ highly individualized claims for

certain alleged losses subject to reimbursement in the Card Brand Recovery

Process are not ripe for adjudication and should be dismissed. The Banks are not

entitled to double recovery, and the Banks’ claims here will be more clearly

defined once the Card Brand Recovery Process is complete.

      Even setting aside the standing and ripeness issues, the Banks’ Complaint

should be dismissed because the Banks have not stated a single actionable claim

against Home Depot. Here, the Banks assert claims against Home Depot for

negligence, negligence per se, violation of various state statutes, and declaratory

and injunctive relief. But these claims all fail as a matter of law. Specifically:

     The Banks’ negligence and negligence per se claims are barred by the
      economic loss rule;

     The Banks’ negligence claim fail because Home Depot does not owe the
      Banks a legal duty to protect them against the alleged harm;


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      None of the alleged violations of the FTC Act or the FTC’s guidelines or
       orders supports a claim for negligence per se;
      The Banks cannot state a claim under any of the state statutes asserted; and

      The Banks’ request for equitable relief fails because, among other reasons,
       the remedies sought are designed to protect against future harm while the
       Banks only claim harm from alleged prior negligent conduct.

                                 BACKGROUND

I.     SUMMARY OF THE COMPLAINT’S ALLEGATIONS2

       A.    Payment Card Breach

       As the nation’s largest home-improvement retailer, Home Depot accepts a

variety of different payment methods, including payment cards. Compl. ¶¶ 84-85.

The Banks allege that, in processing payment card transactions, Home Depot

collects customers’ names, account numbers, card security codes, card expiration

dates and verification values, and PIN numbers for debit cards. Id. ¶ 88.

       The Banks allege that, in or around April 2014, hackers accessed Home

Depot’s payment data systems using the credentials of a third-party vendor. Id.

¶ 138. The hackers then allegedly located Home Depot’s self-checkout registers

and installed malware on these terminals that siphoned off information when

customers swiped their payment cards. Id. ¶¶ 139-40. From September 2 to

2
  Home Depot summarizes the Complaint’s allegations because they must be taken
as true for purposes of this Motion. See Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009). Home Depot does not concede the veracity of the Complaint’s allegations.
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September 7, 2014, the Banks claim that the hackers attempted to sell the payment

card information they allegedly stole from Home Depot on the website

Rescator.cc, a foreign-based illegal online marketplace. Id. ¶¶ 146, 150, 152.

         Home Depot allegedly first received information about unusual activity

involving cards used at its stores on September 2, 2014. Id. ¶ 148. Home Depot

publicly confirmed on September 8, 2014 that it had determined that its systems

had been breached. Id. ¶ 154. The first Bank class action was filed eight days

later.

         B.    The Banks’ Alleged Injuries

         No Bank has identified any specific loss or injury, and the vast majority of

the general categories of losses alleged were – by the Banks’ own admission –

incurred by them when “taking steps to prevent future fraud.” Id. ¶ 186. The

Banks claim that they were forced to “cancel and reissue payment cards,” “change

or close accounts,” “notify customers that their cards were compromised,”

“investigate claims of fraudulent activity,” “increase fraud monitoring on

potentially impacted accounts,” “tak[e] steps to prevent future fraud,” and “take

other steps to protect themselves and their customers.” Id. ¶¶ 186-87.

         The Banks also allege that they incurred losses associated with refunding

fraud charges and lost interest and transaction fees due to supposed reduced card


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usage. Id. ¶ 187. The Banks claim they were further injured when “debit and

credit cards belonging to class members and the Financial Institution Plaintiffs – as

well as the account numbers on the face of the cards – were devalued.” Id. The

Banks do not allege, nor could they, that they have participated in the Card Brand

Recovery Process to its conclusion and emerged with unreimbursed losses.

II.     OVERVIEW OF THE CARD BRAND NETWORKS

        The Banks provide only a limited explanation of payment card transactions

in the Complaint. See, e.g., Compl. ¶¶ 86-87. Additional background is necessary

to understand the relationship between the Card Brands and the Banks in

connection with the data breach. In basic terms, financial institutions that issue

payment cards, such as the Banks here (often referred to as “Issuers”), do so

pursuant to contracts with the Card Brands; the Card Brands contract with other

financial institutions that facilitate payment card transactions (“Acquirers”); and

the Acquirers contract with merchants, such as Home Depot, that accept payment

cards from their customers to pay for transactions. See Cumis Ins. Soc’y Inc. v.

BJ’s Wholesale Club, Inc., 918 N.E.2d 36, 40 n.6-9, 42 (Mass. 2009); Sovereign

Bank v. BJ’s Wholesale Club, Inc., 533 F.3d 162, 164-65 (3d Cir. 2008).

        The Card Brands have extensive regulations, which are incorporated into

contracts executed with Issuers and Acquirers referred to as the Issuing Bank


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Agreement and Acquiring Bank Agreement, respectively. See Compl. ¶¶ 93, 169;

Sovereign Bank, 533 F.3d at 165; Cumis, 918 N.E.2d at 39-40, n.8-9, 42.

Moreover, Acquirers must incorporate the Card Brands’ regulations into their

contracts with Merchants (the “Merchant Agreement”). See id.

      The operative regulations expressly contemplate that events may occur that

compromise payment card data. These regulations include procedures for Issuers

to be reimbursed for certain overhead expenses and fraudulent charges arising from

such events – i.e., the Card Brand Recovery Process.         See, e.g., Pa. State

Employees Credit Union v. Fifth Third Bank, Civil No. 1:CV-04-1554, 2006 WL

1724574, at *4-*5 (M.D. Penn. June 16, 2006) (hereinafter “PSECU”). As part of

this process, the Card Brands undertake to (1) determine whether a compromise

event occurred and the financial scope of its impact; (2) impose assessments upon

the responsible Acquirer; and (3) reimburse the Issuer for certain operating

expenses and fraud losses. Id. at *5. The Acquirer, in turn, may attempt to seek

indemnification from the Merchant under the Merchant Agreement.

                             LEGAL STANDARD

      Home Depot moves to dismiss the Complaint for lack of subject-matter

jurisdiction under Rule 12(b)(1) and for failure to state a claim under Rule

12(b)(6). Although the Court should take the Complaint’s allegations as true in


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reviewing such motions, it need not accept legal conclusions as true. Iqbal, 556

U.S. at 678. “Threadbare recitals of the elements of a cause of action, supported

by mere conclusory statements, do not suffice.” Id.

       Plaintiffs bear the burden of proving that subject-matter jurisdiction exists.

See Morrison v. Allstate Indem. Co., 228 F.3d 1255, 1273 (11th Cir. 2000). That

burden includes pleading sufficient factual information to support a finding of

Article III standing. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

       Under Rule 12(b)(6), a court should dismiss a case if a plaintiff fails to plead

sufficient allegations “to raise [his] right to relief above the speculative level.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). This requires “more than

labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Id. Claims have “facial plausibility” only “when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

              ARGUMENT AND CITATION TO AUTHORITIES

I.     THE BANKS LACK ARTICLE III STANDING.

       Article III standing is “the threshold question in every federal case,

determining the power of the court to entertain the suit.” Warth v. Seldin, 422 U.S.

490, 498 (1975). “A federal court’s jurisdiction therefore can be invoked only


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when the plaintiff himself has suffered some threatened or actual injury resulting

from the putatively illegal action.” Id. at 499 (internal quotation marks and citation

omitted). Not just any financial loss or injury will suffice to confer standing.

Rather, to satisfy Article III, an injury must be “fairly traceable to the challenged

action.” Clapper, 133 S. Ct at 1147 (quoting Monsanto Co. v. Geertson Seed

Farms, 561 U.S. 139 (2010)).

      No Bank has alleged any injury – specific to it – fairly traceable to Home

Depot.     Moreover, many of the general categories of injuries that the Banks

identify, such as operating expenses voluntarily incurred to protect against a threat

of future harm (e.g., card reissuance and enhanced fraud monitoring) and lost value

to account numbers and cards, are insufficient to confer standing.3

      A.      No Bank Has Identified a “Concrete, Particularized” Injury.

      None of the Banks has sufficiently pled injury-in-fact, and, for this reason

alone, the Complaint should be dismissed. In paragraphs 12-79 of the Complaint,

the Banks assert nothing but the name and headquarters of each Bank.
3
  The Banks’ suit lacks standing and is premature at best. Thus, their assertion that
Home Depot “has been stubbornly litigious, and caused unnecessary trouble and
expense” is particularly unfounded. See Compl., Prayer for Relief. O.C.G.A. §
13-6-11 permits recovery only if there is “‘no bona fide controversy or dispute
regarding liability for the underlying cause of action.’” APAC-Se., Inc. v. Coastal
Caisson Corp., 514 F. Supp. 2d 1373, 1382 (N.D. Ga. 2007) (internal citation
omitted). The Banks’ claim that there is not a bona fide controversy here is
disingenuous, and their allegations under O.C.G.A. § 13-6-11 should be struck.
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Accordingly, they have not established that any Bank has standing to bring the

claims asserted.     “Without a plaintiff’s satisfaction and demonstration of the

requirements of Article III standing, a federal court has no subject matter

jurisdiction to hear the merits of a plaintiff’s – or, in this case, the class plaintiffs’ –

claim[.]” Centr. States Se. & Sw. Areas Health & Welfare Fund v. Merck–Medco

Managed Care, L.L.C., 433 F.3d 181, 198 (2d Cir. 2005). And when the court

lacks jurisdiction, its only function is to dismiss the case. Steel Co. v. Citizens for

a Better Env’t, 523 U.S. 83, 94 (1998).

       Although eight months have passed since the first complaint was filed, none

of the Banks has identified a specific loss. Rather, they all vaguely allege that they

have suffered the same general categories of injuries.             Compl. ¶¶ 187, 221.

Bringing a class action does not abrogate the individualized standing requirement.

See Bowen v. First Family Fin. Servs., Inc., 233 F.3d 1331, 1339, n.6 (11th Cir.

2000); Laird v. Tatum, 408 U.S. 1, 14 n.7 (1972) (litigant may not seek redress for

injuries done to others). Rather, “a plaintiff ‘must assert his own legal rights and

interests, and cannot rest his claim to relief on the legal rights or interests of third

parties.’” Conn. v. Health Net, Inc., 383 F.3d 1258, 1261 (11th Cir. 2004) (quoting

Warth, 422 U.S. at 499). Because they fail to identify any specific injuries that

they have suffered and cannot rely on alleged injuries suffered by absent class


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members, the Banks do not have standing to bring the claims alleged. See Warth,

422 U.S. at 501 (“[T]he plaintiff still must allege a distinct and palpable injury to

himself, even if it is an injury shared by a large class of other possible litigants.”).

      B.     Expenses Voluntarily Incurred to Protect Against Possible Future
             Harm Do Not Confer Standing.
      In Clapper, the Supreme Court rejected the notion that parties have standing

when they “take costly and burdensome measures to protect” against potential

future harm. Clapper, 133 S. Ct. at 1151. The Supreme Court specifically rejected

the Second Circuit’s position that “plaintiffs have established that they suffered

present injuries in fact . . . stemming from a reasonable fear of future harmful

government conduct.” Id. After Clapper, it is clear that alleged losses, no matter

how reasonable, are not “fairly traceable” to a defendant’s actions if willingly

incurred to protect against a possibility of future harm. Id. at 1152-53. The Banks

“cannot manufacture standing merely by inflicting harm on themselves based on

their fears of hypothetical future harm that is not certainly impending.” Id. at

1151. “If the law were otherwise, an enterprising plaintiff would be able to secure

a lower standard for Article III standing simply by making an expenditure based on

a nonparanoid fear.” Id.

      The vast majority of expenses the Banks seek to recover from Home Depot

were willingly incurred to protect against hypothetical future harm. The Banks

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claim to have incurred costs for canceling and reissuing payment cards (including

cards that had not incurred fraud charges), changing or closing accounts, notifying

customers, investigating potentially fraudulent activity, and increasing fraud

monitoring “on potentially impacted accounts.”        Compl. ¶¶ 4, 187, 214, 221.

These are all operating expenses that the Banks made a business decision to incur

to protect against “a fear of hypothetical future harm;” as such, they “are not fairly

traceable” to any Home Depot actions. See Clapper, 133 S. Ct. at 1151. Many of

these expenses, such as reissuing cards that had not incurred fraud charges, would

have been sustained in any event; the timing of the costs simply may have changed

due to the Banks’ decisions to reissue now instead of during the normal course of

their business.

      Any expenses that the Banks chose to incur to protect against hypothetical

future harm are no different than losses consumers incurred for the same purpose –

and courts have overwhelmingly agreed that those are insufficient to confer

standing.   See, e.g., In re Zappos.com, Inc., No. 3:12-cv-00325, 2015 WL

3466943, at *10 (D. Nev. June 1, 2015) (“[C]osts incurred to prevent future harm

is not enough to confer standing . . . ‘even when such efforts are sensible’”);

Galaria v. Nationwide Mut. Ins. Co., 998 F. Supp. 2d 646, 658 (S.D. Ohio 2014)

(Plaintiffs “cannot create standing by choosing to make expenditures in order to


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mitigate a purely speculative harm”); accord Strautins v. Trustwave Holdings, Inc.,

27 F. Supp. 3d 871, 876 n.9 (N.D. Ill. 2014); Reilly v. Ceridian Corp., 664 F.3d 38,

46 (3d Cir. 2011); Green v. eBay Inc., No. 14-1688, 2015 WL 2066531, at *5

(E.D. La. May 4, 2015); In re Science Apps. Int’l Corp. (SAIC) Backup Tape Data

Theft Litig., 45 F. Supp. 3d 14, 26 (D.D.C. 2014); Remijas v. Neiman Marcus Grp.,

LLC, No. 14 C 1735, 2014 WL 4627893, at *4 (N.D. Ill. Sept. 16, 2014); Brit Ins.

Holdings N.V. v. Krantz, No. 1:11 CV 948, 2012 WL 28342, at *9 (N.D. Ohio Jan.

5, 2012); and Giordano v. Wachovia Sec., LLC, No. 06–476, 2006 WL 2177036, at

*4 (D.N.J. July 31, 2006).

      Like consumer plaintiffs, the Banks here cannot recover amounts spent for

card reissuance, fraud monitoring, or other similar actions to protect against

possible future harm. There is no justifiable basis for making a distinction. This is

particularly so given that the Banks – financial institutions with billions of dollars

in assets – already have a negotiated mechanism for making such claims through

the Card Brand Recovery Process.

      C.     Claims Based on Lost Value to Account Numbers Fail to Satisfy
             Article III’s Requirement of Injury-In-Fact.
      Article III’s basic standing requirements include allegations by the Banks

that they “have suffered an ‘injury in fact’ that is . . . concrete and particularized.”

Lujan, 504 U.S. at 560. A purported devaluation to debit and credit cards “as well

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as the account numbers on the face of the cards” (Compl. ¶¶ 187, 214, 221) is far

from a “concrete and particularized” injury. Lujan, 504 U.S. at 560.

        The Complaint does not explain how debit and credit cards or their account

numbers could ever have value to the Banks, much less how that supposed value

could be monetized such that a reduction in value would actually result in a

concrete injury to the Banks. Such “conclusory averments of standing” do not

suffice. Anderson v. City of Alpharetta, 770 F.2d 1575, 1579 (11th Cir. 1985).

And to the extent that the value was lost as a result of the cards being destroyed, as

discussed above, that was a result of voluntary actions taken by the Banks. This

alleged “injury” therefore falls far short of conferring standing on the Banks.

II.     THE BANKS’ NEGLIGENCE CLAIMS FAIL.

        Even if the Banks had Article III standing, which they do not, their

negligence-based claims are barred as a matter of law. Specifically, the Banks’

claims for negligence and negligence per se are barred by the economic loss rule

(“ELR”). In addition, the Banks’ negligence claim fails because Home Depot does

not owe the Banks any duty of care. Finally, the Banks’ negligence per se claim

fails because, among other reasons, Section 5 of the FTC Act does not articulate a

sufficiently concrete duty or standard of care, and the Banks do not fall within the

class of individuals that Section 5 was intended to protect.


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      A.    The ELR Bars the Banks’ Claims for Negligence and Negligence
            Per Se.
            1.     The Banks’ Claims Fail Because They Seek to Recover for
                   Purely Economic Losses.

      Under the ELR, there is no recovery in tort for economic losses unless they

result from injury to person or property. See Gen. Elec. Co. v. Lowe’s Home Ctrs.,

608 S.E.2d 636, 637 (Ga. 2005) (economic losses are recoverable in tort only if

those losses “result[] from injury to his person or damage to his property”); Remax

The Mountain Co. v. Tabsum, Inc., 634 S.E.2d 77, 79 (Ga. Ct. App. 2008) (same);

Huddle House, Inc. v. Two Views, Inc., No. 1:12-CV-03239-RWS, 2013 WL

1390611, at *4 (N.D. Ga. Apr. 4, 2013) (same).4 The Banks’ negligence claims

should be dismissed because they do not allege personal injury, and none of their

purported harm constitutes property damage.

      Under Georgia law, “damage to property that is actionable in tort despite the

economic loss rule is that which arises from accident or other physical injury.”


4
  The Banks’ negligence-based claims fail regardless of which state’s law applies.
Home Depot’s Motion to Dismiss focuses on Georgia law because the Banks
allege it controls and because at the Rule 12 stage, the Court is not required to
conduct a rigorous choice of law analysis. See In re ConAgra Peanut Butter
Prods. Liab. Litig., No. 1:07-MD-1845-TWT, 2008 WL 2132233, at *1 (N.D. Ga.
May 21, 2008) (Thrash, J). However, Home Depot does not concede that the
Banks’ common law claims are governed exclusively by Georgia law and reserves
its right to challenge choice of law at a later point. See Exhibit A.


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Huddle House, Inc., 2013 WL 1390611, at *5 (emphasis added). The Banks do not

allege damages arising from accident or other physical injury. The damages they

claim to have incurred flow from intentional criminal conduct and steps the Banks

took to mitigate the risk of possible future harm. See, e.g., Compl. ¶¶ 1, 186.

      Courts have soundly rejected the idea that damages flowing from the

compromise of payment card information constitute property damage as required

to avoid the ELR. See Willingham v. Global Payments, Inc., No. 1:12-CV-01157-

RWS, 2013 WL 440702, at *18 (N.D. Ga. Feb. 5, 2013) (report and

recommendation) (courts “have dismissed negligence claims [in data breach

litigation] based on the . . . [ELR] where the plaintiff has not suffered personal

injury or property damage”). One court “disagree[d]” with the financial institution

plaintiffs’ argument that the ELR did not apply because the hacked retailer

“cause[d] property damage to the cards that had to be replaced.” PSECU v. Fifth

Third Bank, 398 F. Supp. 2d 317, 330 (M.D. Pa. 2005). The court held that “the

costs of replacing the cards [] are economic losses,” not property damage, and

dismissed the financial institutions’ negligence claims. Id.; see also In re TJX Cos.

Retail Sec. Breach Litig., 564 F.3d 489, 498 (1st Cir. 2009) (dismissing negligence

claim under Massachusetts’s ELR because plaintiff did not allege “physical

destruction of property”); Sovereign Bank, 533 F.3d at 176 (money allegedly lost


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by issuing bank not property damage for purposes of Pennsylvania’s ELR). The

reasoning of these courts is sound, and this Court should reach the same

conclusion.

      The lack of direct contractual privity between the Banks does not preclude

application of the ELR. Indeed, under Georgia law, direct contractual privity is not

a prerequisite to the rule’s application. See Carolina Cas. Ins. Co. v. R.L. Brown &

Assocs., Inc., No. 1:04-CV-3537, 2006 WL 3625891, at *5 (N.D. Ga. Dec. 11,

2006) (“The economic loss rule thus bars a plaintiff from recovering in tort where

the party is not in privity with the defendant and the plaintiff’s damages are purely

economic.”) (emphasis added).

      In its General Electric opinion, for instance, the Georgia Supreme Court

held that the ELR precluded Lowe’s from recovering for lost profits allegedly

caused by pollution from a nearby General Electric facility despite no suggestion

that a contract existed between the parties. Gen. Elec. Co., 608 S.E.2d at 638-39.

General Electric is not an aberration but is consistent with a long line of Georgia

authority. See City of Atlanta v. Benator, 714 S.E.2d 109, 116 (Ga. Ct. App. 2011)

(affirming dismissal under the ELR despite lack of privity); Remax The Mountain

Co., 634 S.E.2d at 79 (same); Adventure Outdoors, Inc. v. Bloomberg, 519 F.




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Supp. 2d 1258, 1275 (N.D. Ga. 2007) rev’d on other grounds, 552 F.3d 1290 (11th

Cir. 2008) (same).

      Courts applying other states’ laws in data breach litigation have likewise

held that contractual privity is not required under the ELR. In In re Michaels

Stores Pin Pad Litigation, the court held that Illinois’s ELR barred plaintiffs’

claims for negligence and negligence per se despite any suggestion of contractual

privity. 830 F. Supp. 2d 518, 531 (N.D. Ill. 2011); see also Sovereign Bank, 533

F.3d at 180 (rejecting argument that the ELR did not apply because of a lack of

contractual privity); PSECU, 398 F. Supp. 2d at 329-30 (same). These courts’

holdings are consistent with a long line of authority from the U.S. Supreme Court

and other courts holding that contractual privity is not a prerequisite to the ELR’s

application. See, e.g., Robins Dry Dock & Repair Co. v. Flint, 275 U.S. 303, 308-

09 (1927) (applying the ELR despite the absence of direct contractual privity);

Plourde Sand & Gravel Co. v. JGI E., Inc., 917 A.2d 1250, 1254 (N.H. 2007)

(same).

      The Banks’ claims here are the precise claims the ELR seeks to prohibit. A

core rationale underlying the ELR is preventing parties that have bargained for an

allocation of risks and rewards from evading that agreement by suing in tort. See,

e.g., Daanen & Janssen, Inc. v. Cedarapids, Inc., 573 N.W.2d 842, 846 (Wisc.


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1998) (one goal of the ELR is to “to protect commercial parties’ freedom to

allocate economic risk by contract”). This underpinning of the ELR applies with

the same force when commercial parties have the opportunity to bargain for an

allocation of risks or have entered into a chain of contracts similar to those

involving the Card Brands, even if the parties are not in direct privity.

      “[I]n a commercial context parties are expected to allocate the risk of loss

through their contract, not supplement the contract with a tort remedy.”

Banknorth, N.A. v. BJ’s Wholesale Club, Inc., 442 F. Supp. 2d 206, 213 (M.D. Pa.

2006). In that data breach litigation, the court held that the ELR barred plaintiffs’

negligence claim, despite no contractual privity, because they had the opportunity

to allocate the risk of fraudulent transactions.     See id.    Likewise, a payment

system’s “chain of contracts” supports application of the ELR to bar negligence

claims. See Annett Holdings, Inc. v. Kum & Go, L.C., 801 N.W.2d 499, 504 (Iowa

2011) (“When parties enter into a chain of contracts, even if the two parties at issue

have not actually entered into an agreement with each other, courts have applied

the ‘contractual economic loss rule’ to bar tort claims for economic loss, on the

theory that tort law should not supplant a consensual network of contracts.”).

      In addition to being required by black letter Georgia law, the Court should

apply the ELR here because it would serve the ELR’s underlying goals by holding


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the Banks to their bargained for allocation of risk. As discussed above, the Banks

are sophisticated commercial entities that voluntarily contracted with the Card

Brands regarding these risks and determined what kinds of contractual recovery

they could seek.     The Banks consented to be bound by an “extensive set of

‘Operating Regulations’” that govern “virtually every aspect of the . . . payment

system, and impose both general and specific requirements on participants in the

network.” Sovereign Bank, 533 F.3d at 165 (internal citation omitted); Cumis Ins.

Soc’y Inc., 918 N.E.2d at 42 (Card Brands have “extensive” regulations). These

policies expressly contemplate data breaches and, in fact, provide a procedure for

the Banks to recover certain losses, if any. Accordingly, the Banks’ negligence-

based claims are barred by Georgia’s ELR as well as the ELR as applied in a

majority of the other state laws implicated here.5

        B.     The Banks Fail to State a Claim for Negligence.

        To state a claim for negligence, the Banks must allege (1) a duty flowing

from Home Depot to the Banks; (2) a negligent act or omission by Home Depot;

(3) injury to the Banks; and (4) a proximate relationship between the negligent act

or omission and the resulting injury to the Banks. See Turner v. S. Ry. Co., 46

F.R.D. 71, 73 (N.D. Ga. 1968); John Crane, Inc. v. Jones, 604 S.E.2d 822, 825

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    See Exhibit A.

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(Ga. 2004). The Banks’ negligence claim must be dismissed because they fail to

plausibly allege that Home Depot owed them any duty of care.

         1.    There is No Common Law Duty to Protect the Banks from a
               Criminal Intrusion Perpetrated by a Third Party.

      The Banks claim that Home Depot had a common law duty to “use

reasonable measures to protect its customers’ personal and financial information

from hackers who perpetrated the 2014 data breach . . . .” Compl. ¶ 211. There is

no common law duty to safeguard personal information under Georgia law. See

Willingham, 2013 WL 440702, at *18 (credit card processor did not owe

consumers a duty of care to protect them from data breaches). Courts applying

other state’s laws have reached the same result. See, e.g., Worix v. MedAssets,

Inc., 869 F. Supp.2d 893, 897 (N.D. Ill. 2012) (no common law duty to safeguard

sensitive information); Citizens Bank of Pa. v. Reimbursement Techs., Inc., No. 12-

1169, 2014 WL 2738220, at *2 (E.D. Pa. June 17, 2014) (no common law duty “to

properly secure and to protect customers’ personal banking information and other

information” or “to implement procedures and practices to prevent access and/or

have in place appropriate data privacy and security safeguards to prevent




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disclosure to unauthorized third parties”).6 Similarly, there is no common law duty

to provide notice of a data breach. See In re Hannaford Bros. Co. Customer Data

Sec. Breach Litig., 613 F. Supp. 2d 108, 124 (D. Me. 2009) (no common law duty

to “advise customers of the theft of their data once it occurred. . . .”); Amburgy v.

Express Scripts, Inc., 671 F. Supp. 2d 1046, 1055 (E.D. Mo. 2009) (no negligence

claim exists for the failure to provide adequate and timely notice of a data breach).

      The Banks’ contention that the common law requires Home Depot to

safeguard and protect its customers’ financial and personal information against

criminal attacks also contravenes established Georgia law that, as a general rule,

there is no legal duty to anticipate criminal acts of third parties or to control the

conduct of those third parties. See Edmunds v. Cowan, 386 S.E.2d 39, 41 (Ga. Ct.

App. 1989) (“[O]ne is not generally required to anticipate criminal acts”); see also

BancFirst v. Dixie Restaurants, Inc., No. CIV-11-174, 2012 WL 12879, at *4

(W.D. Okla. Jan. 4, 2012) (merchant owed no duty of care to issuing bank for harm

arising from criminal conduct of third party).




6
  The District of Minnesota’s recent decision in In re Target Corp. Customer Data
Security Breach Litigation is an outlier among the majority of courts to consider
this issue.
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             2.    Home Depot Had No Special Relationship with the Banks and
                   Thus Had No Duty to Protect the Banks from the Data Breach.
      There are no plausible allegations that support that a special relationship

existed between the Banks and Home Depot whereby Home Depot owed the

Banks a duty to protect them against third-party criminal conduct. No Georgia

case law acknowledges a special relationship between merchants and issuing banks

in a data breach scenario. In those cases where Georgia courts have found that a

special relationship exists for purposes of establishing a negligence duty, the facts

are readily distinguishable from those alleged here. See, e.g., Hamilton v. Cannon,

482 S.E.2d 370, 375 (Ga. 1997) (special relationship existed between plaintiff and

police officer who voluntarily assumed duty to act for plaintiff’s protection at

emergency scene); Assoc. Health Sys., Inc. v. Jones, 366 S.E.2d 147, 151 (Ga. Ct.

App. 1998) (nursing home had special relationship with residents imposing duty

upon it to protect them from unreasonable risk of harm and to supervise any known

resident whose propensity to cause harm is known or should be known to

management).

      None of the conclusory allegations in the Complaint supports extending this

special relationship case law under the alleged facts here. The Banks’ allegation

that they “entrusted” Home Depot with customer PII from the payment cards they

issued rings hollow because it was Home Depot’s customers, not the Banks, who

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provided Home Depot with the payment card information in question. Compl. ¶

208. Likewise, the Banks’ allegation that only Home Depot was in a position to

protect the Banks fails because the Banks voluntarily decided to join the Card

Brand network and accepted the risks expressly contemplated in the Card Brand

regulations. Id. Home Depot had no relationship with the Banks whatsoever.

Indeed, Home Depot and the Banks were not even in an arm’s length commercial

relationship – their dealings were much further removed than that.

      Even in cases where there is a direct relationship between the parties, a duty

may arise only when the risk of third party criminal activity is foreseeable, and the

defendant has superior knowledge that the criminal activity might occur. See

Whitmore v. Fed. Sav. Bank of Brunswick, 484 S.E.2d 708, 711 (Ga. Ct. App.

1997) (existence of duty depends on foreseeability and superior knowledge of

risk); Ratliff v. McDonald, 756 S.E.2d 569, 576 (Ga. Ct. App. 2014) (“true ground

of liability” is superior knowledge of an unreasonable risk of harm). It is neither

alleged nor plausible that Home Depot, as a merchant, had any greater knowledge

of the risk of a data breach than the Banks did.7



7
 Indeed, the Banks are just as likely as Merchants to be subject to data breaches, as
occurred with the JP Morgan data breach.                      See http:// www.
usnews.com/news/articles/2014/10/03/jpmorgan-hack-hits-76-million-homes.

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      There is no common-law tort duty where the class of plaintiffs that the duty

would protect (here, the Banks) have elected to accept the risk in question and have

the ability to address that risk (in this instance, through the Card Brand Recovery

Process). Given the parties’ equal knowledge of the risk, as well as the Banks’

ability to mitigate the risk by allocating remedies through the Card Brand

Recovery Process, the Banks have no sound reason to ask this Court to create a

common-law duty on the part of merchants like Home Depot.

            3.     Home Depot Owed the Banks No Duty Based on Industry
                   Standards (e.g., PCI-DSS).
      The Banks argue Home Depot owed a duty to them “because it is bound by”

industry standards like PCI-DSS. See Compl. ¶ 210. There is no support for this

argument. See Willingham, 2013 WL 440702, at *19. In Willingham, the court

refused to find that “commercial standards or general industry standards such as

PCI-DSS” could “create a legal duty running from” a payment processor to a card

holder to safeguard their PII. Id. at *19. The same result should follow here

because Home Depot’s relationship to the Banks is even more attenuated.

      The Banks’ allegation that Home Depot “specifically assumed the duty to

comply with industry standards, including PCI-DSS[,]” by way of certain language

in its internal policies and procedures, is also without merit. See Compl. ¶ 207. A

company’s adoption of an internal guideline or policy and subsequent procedure to

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follow that guideline does not create a duty. See, e.g., Leal v. Hobbs, 538 S.E.2d

89, 92 (Ga. Ct. App. 2000) (“We find no authority for the proposition that violation

of an internal policy can constitute negligence per se.”); McCarty v. Covol Fuels

No. 2, LLC, 978 F. Supp. 2d 799, 812-13 (W.D. Ky. Oct. 16, 2013) (defendant did

not assume duty of care by establishing internal policies and procedures and

allegedly failing to follow them); Boutilier ex rel. Boutilier v. Chrysler Ins. Co.,

No. 8:99-CV-2270T26MAP, 2001 WL 220159, at *1 (M.D. Fla. Jan. 31, 2001)

(adoption of internal corporate policy does not create a legal duty or cause of

action for violation of the policy).

             4.     The FTC Act Cannot Form the Basis of the Banks’ Common
                    Law Negligence Claim.

      There is no private right of action under Section 5 of the FTC Act. See Jeter

v. Credit Bureau, Inc., 760 F.2d 1168, 1174 (11th Cir. 1985); Horton v. HSBC

Bank, No. 1:11-CV-3210-TWT, 2013 WL 2452273, at *9 (N.D. Ga. June 5, 2013)

(dismissing plaintiffs’ FTC Act Claim) (Thrash, J.); Valet Apartment Servs., Inc. v.

Atlanta Journal and Constitution, 865 F. Supp. 828, 833 (N.D. Ga. 1994).

      Yet, the Banks attempt to make an end-run around their lack of standing to

pursue an FTC Act claim by arguing that the statute imposes on Home Depot a

“duty to use reasonable care in protecting their customers’ PII” that gives rise to

their negligence claim. Compl. ¶ 210. Not a single case has recognized a common

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law negligence claim based on “breach” of a defendant’s duty to comply with the

FTC Act, or held that “FTC publications and data breach security orders” may give

rise to a duty between parties in no way connected to such orders. Id. at 209. The

Court should not create a cause of action where Congress declined to do so, and

the Banks’ negligence claim, accordingly, should be dismissed.8

      C.     The Banks’ Negligence Per Se Claim Fails.

      The Banks base their claim for negligence per se on alleged violations of

Section 5 of the FTC Act, industry standards, and unspecified FTC guidelines and

orders. See Compl. ¶¶ 216-22. The Court should dismiss this claim because none

of these allegations supports a cause of action for negligence per se.

             1.    Section 5 of the FTC Act Does Not Support a Claim for
                   Negligence Per Se.

                   a.     Section 5 does not impose a clear and concrete duty or
                          standard of conduct.

      The Banks claim that Home Depot violated the prohibition on “unfair . . .

practices in or affecting commerce” in Section 5 of the FTC Act, 15 U.S.C. § 45,

and thus is liable for negligence per se. There is not a single decision of record in

which a court has held that a violation of Section 5’s “unfair practices” prong

8
  Even if the FTC Act imposed a common law or statutory duty to act in
accordance with its provisions, a breach of that duty must be analyzed under a
claim for negligence per se, not negligence. As discussed infra Section III.C, the
FTC Act fails to support Plaintiffs’ negligence per se claim.

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provides the basis for a negligence per se claim. Square pegs do not fit in round

holes, and a violation of Section 5’s unfair practices prong does not give rise to a

claim for negligence per se.

      Negligence per se is grounded in institutional comity: Where the legislature

has determined that particular acts are unlawful, the “judgment of the legislature,

as the authoritative representative of the community, takes precedence” over the

determinations of individual juries. Restatement (Third) of Torts: Phys. & Emot.

Harm § 14, cmt (c) (2010). Likewise, negligence per se promotes efficiency by

eliminating the need for juries to deliberate repeatedly the propriety of “recurring

conduct,” which provides clarity as to the status of the law. Id. But where “duties

remain undefined or defined only in abstract general terms a breach is not properly

denominated negligence per se.” Platt v. S. Photo Materials Co., 60 S.E. 1068,

1070 (Ga. Ct. App. 1908).

      For a statute or ordinance to give rise to a claim for negligence per se in

Georgia (and in most, if not all, jurisdictions throughout the country), there must

be a “concrete wrong” that is “expressly prohibited by law or ordinance.” Id. That

is, there must be “the alleged breach of a legal duty with some ascertainable

standard of conduct.” Wells Fargo Bank, N.A. v. Jenkins, 744 S.E.2d 686, 688

(Ga. 2013). See also A.F. King & Son v. Simmons, 131 S.E.2d 214, 219 (Ga. Ct.


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App. 1963) (statute requiring the exercise of “ordinary care” too vague and abstract

to support a negligence per se claim); Brock v. Avery Co., Inc., 110 S.E.2d 122,

126 (Ga. Ct. App. 1959) (violation of statute “would not constitute negligence per

se as it is too indefinite for enforcement . . .”); Willis v. Jones, 81 S.E.2d 517, 519

(Ga. Ct. App. 1954) (jury charge of negligence per se inappropriate where the

statute barred operating a vehicle at a speed that is “greater than is reasonable and

safe”).9

      Section 5’s unfair practices prong falls far short of establishing a concrete

wrong or an ascertainable standard of conduct. Indeed, the statute’s prohibition is

vague and amorphous by design. Congress “intentionally left the term ‘unfair’ to

the [Federal Trade] Commission rather than attempting to define” any specific

practices. See Atl. Ref. Co. v. F.T.C., 381 U.S. 357, 367 (1965) (quoting S. Rep.

No. 63-597 at 13 (1914)); Am. Fin. Sers. Ass’n v. F.T.C., 767 F.2d 957, 969 (D.C.

9
  Courts outside of Georgia have also refused to recognize claims for negligence
per se based on amorphous or general statutory language. See, e.g., Swoboda v.
Brown, 196 N.E. 274, 279 (Ohio 1935) (“[W]here the duty is defined “only in
abstract or general terms, leaving to the jury the ascertainment and determination
of reasonableness and correctness of acts and conduct under the proven conditions
and circumstances, the phrase negligence per se has no application.”); accord
Ridge v. Cessna Aircraft Co., 117 F.3d 126, 131 (4th Cir. 1997); Joy v. Bell
Helicopter Textron, Inc., 999 F.2d 549, 558 (D.C. Cir. 1993); Shanks v. Upjohn
Co., 835 P.2d 1189, 1201 (Alaska 1992); Louisiana-Pac. Corp. v. Knighton, 976
S.W.2d 674, 675 (Tex. 1998).


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Cir. 1985) (Congress “expressly declined to delineate” the “particular acts or

practices” deemed unfair). “The Supreme Court has, on more than one occasion,

recognized that the standard of unfairness is by necessity, an elusive one, which

defies such a limitation.” Orkin Exterminating Co. v. F.T.C., 849 F.2d 1354, 1367

(11th Cir. 1988) (internal quotation marks and citations omitted); accord F.T.C. v.

Colgate-Palmolive Co., 380 U.S. 374, 384-85 (1965). Because Section 5’s unfair

practices prong is intentionally vague and amorphous, it does not delineate the

requisite “concrete wrong” sufficient to support a claim for negligence per se.10

                    b.    The Banks Do Not Fall Within the Class of Persons
                          Congress Intended to Protect Under the “Unfair
                          Practices” Prong of the FTC Act.

       A universal element of a negligence per se claim is that the Banks “fall[]

within the class of persons the legislation was intended to protect . . . .” Groover v.

Johnston, 625 S.E.2d 406, 408 (Ga. Ct. App. 2005); Brown v. Belinfante, 557

S.E.2d 399, 403 (Ga. Ct. App. 2001); Restatement (Third) of Torts: Phys. & Emot.

Harm § 14 (“An actor is negligent if, without excuse, the actor violates a statute

10
  Negligence per se is not recognized as a separate cause of action under the laws
of California, Illinois, Maine, Michigan, and Washington. See E.J. v. United
States, No. 13-cv-01923, 2013 WL 6072867, at *3 (N.D. Cal. Nov. 14, 2013);
Blommer Chocolate Co. v. Bongards Creameries, Inc., No. 83 C 0536, 1984 WL
454, at *2 (N.D. Ill. Apr. 11, 1984); French v. Willman, 599 A.2d 1151, 1152 (Me.
1991); Abnet v. Coca-Cola Co., 786 F. Supp. 2d 1341, 1345 (W.D. Mich. 2011);
Atherton Condo. Apartment-Owners Ass’n Bd. of Dirs. v. Blume Dev. Co., 799
P.2d 250, 262 n.13 (Wash. 1990) (en banc).
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that is designed to protect against the type of accident the actor’s conduct causes,

and if the accident victim is within the class of persons the statute is designed to

protect.”).   The FTC Act, as originally enacted, did not proscribe “unfair

practices,” only “unfair methods of competition.” The “unfair . . . practice” prong

the Banks seek to travel under here was added through amendment in 1938 which

“made it clear that Congress, through § 5, charged the FTC with protecting

consumers as well as competitors.” F.T.C. v. Sperry & Hutchinson Co., 405 U.S.

233, 244 (1972); Jeter, 760 F.2d at 1172 (“The FTC Act was enacted to protect

unsophisticated consumers, not only ‘reasonable consumers’ who could otherwise

protect themselves in the market place.”).

      The Banks are neither consumers nor competitors of Home Depot but

instead sophisticated financial institutions.   The Banks suggest that the Court

should allow them to stand in the shoes of consumers because they “bear primary

responsibility for reimbursing consumers for fraud losses.” Compl. ¶ 219. There

is no support for this proposition, and the Banks’ suggestion that their interests are

aligned with those of the consumers is belied by the fact that the two classes of

plaintiffs are represented separately. Tellingly, the Banks do not allege that any

recovery would be remitted to consumers, and the Banks all but disclaim that

consumers have been harmed at all. See Compl. ¶ 186. Because the Banks are not


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members of the class of individuals the unfair practices prong of the FTC Act was

designed to protect, the Banks’ claim for negligence per se fails as a matter of law.

             2.    FTC Guidelines and Orders Do Not Carry the Force of Law and
                   Fail to Support a Claim for Negligence Per Se.

       The Banks’ negligence per se claim likewise fails to the extent premised on

unidentified FTC guidelines and orders. Compl. ¶ 216. The Banks’ burden of

establishing a plausible claim for relief requires them to identify the specific

guidelines and orders that they claim give rise to negligence per se liability. The

Banks fail to identify a single order Home Depot allegedly violated or any specific

guideline or order that establishes a duty of care. Throughout the Complaint, the

Banks do no more than reference general “guidelines” recommending that

businesses establish “reasonable data security practices” and “recommendations,”

such as the admonition that businesses should “protect the personal customer

information that they keep.” Compl. ¶ 180. Nothing alleged approaches the type

of specific legislative duty necessary to support a negligence per se claim.11


11
  As a basic matter of pleading, the Banks’ negligence per se claim fails to the
extent it is based on unidentified “similar statutes.” Compl. ¶¶ 216-22. See
McGinnis v. Am. Home Mortg. Servicing, Inc., Case No. 5:11-cv-284, 2012 WL
426022, at *7 (M.D. Ga. Feb. 9, 2012) (dismissing negligence per se claim based
on RESPA violation because the “allegation for a cause of action, by itself, is too
vague to provide the Court with any indication of what specific sections of RESPA
were violated”). Even if the Banks had identified a particular statute, it would not
save their claim. For the reasons set forth above, statutes with similarly amorphous
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      Moreover, neither FTC guidelines nor orders constitute legislative

pronouncements carrying the force of law sufficient to serve as the basis for a

negligence per se claim. Agency documents “designed to implement, interpret, or

prescribe law” are considered to be “rules” under the Administrative Procedure

Act. 5 U.S.C. § 551(4); accord Chamber of Commerce v. United States Dep’t of

Labor, 174 F.3d 206, 211-12 (D.C. Cir. 1999) (describing a rule as an agency

pronouncement that “has a substantial impact upon private parties and puts a stamp

of agency approval or disapproval on a given type of behavior”) (internal quotation

omitted). And “rules which define with specificity acts or practices which are

unfair or deceptive acts or practices” can be promulgated by the FTC only pursuant

to the procedural requirements of Section 18(b) of the FTC Act. 15 U.S.C. §

57a(a)-(b). The Banks fail to allege that any of the unspecified “guidelines” Home

Depot allegedly violated have been promulgated pursuant to Section 18(b) of the

FTC Act such that they are accorded the weight of law.

      Likewise, FTC consent orders fail to establish a statutory duty for purposes

of a negligence per se claim because, as the Supreme Court has explained, “[t]he

circumstances surrounding . . . negotiated [consent] agreements are so different


prohibitions as Section 5 of the FTC Act are inadequate for purposes of a
negligence per se claim.


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that they cannot be persuasively cited in a litigation context.” United States v. E.I.

du Pont de Nemours & Co., 366 U.S. 316, 330 n.12 (1961); see also Beatrice

Foods Co. v. F.T.C., 540 F.2d 303, 312 (7th Cir. 1976) (“The entering of a consent

decree, . . ., is not a decision on the merits and therefore does not adjudicate the

legality of any action by a party thereto. Nor is a consent decree a controlling

precedent for later Commission action.”); Trans Union Corp. v. F.T.C., 245 F.3d

809, 816-17 (D.C. Cir. 2001); Marion Healthcare LLC v. S. Ill. Healthcare, No.

12-CV-00871-DRH-PMF, 2013 WL 451068, at *10 n.3 (S.D. Ill. Aug. 26, 2013).

             3.    Industry Standards Cannot Support a Negligence Per Se Claim.

      The Banks’ claim for negligence per se also fails to the extent it is based on

an alleged violation of “applicable industry standards, including PCI-DSS.”

Compl. ¶ 217. Under Georgia law, a claim for negligence per se must be based

upon a law – i.e., a statute or regulation – not privately created standards or

industry norms. Norman v. Jones Lang Lasalle Am., Inc., 627 S.E.2d. 382, 387

(Ga. Ct. App. 2006) (“[G]enerally, negligence per se arises when a statute or

ordinance is violated.”). A violation of private rules does not give rise to a

negligence per se claim. S. Ry. Co. v. Allen, 77 S.E.2d 277, 286 (Ga. Ct. App.

1953). No court – applying Georgia law or any other state’s law – has ever held

that a violation of PCI-DSS gives rise to a claim for negligence per se.


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         Moreover, courts across the country are in accord that the violation of

industry standards or similar private rules fails to support a claim for negligence

per se. See, e.g., Hansen v. Abrasive Eng’g & Mfg., Inc., 856 P.2d 625, 628 (Or.

1993) (violation of industry customs does not support negligence per se claim);

Fanean v. Rite Aid Corp., 984 A.2d 812, 823-24 (Del. Super. Ct. 2009) (violation

of the American Pharmaceuticals Association standards is not negligence per se);

Griglione v. Martin, 525 N.W.2d 810, 812 (Iowa 1994) (violation of police

operating procedures and private safety codes does not support a claim for

negligence per se); Harwood v. Glacier Elec. Co-op., Inc., 949 P.2d 651, 656

(Mont. 1997) (violation of non-statutory standards does not support a claim for

negligence per se). Accordingly, the Banks’ claim for negligence per se fails as a

matter of law and should be dismissed.

III.     THE BANKS’ CLAIM FOR INJUNCTIVE AND DECLARATORY
         RELIEF SHOULD BE DISMISSED.
         The Banks have asserted a claim for equitable relief that is duplicative of

their common law claims and should be dismissed. See Compl. ¶¶ 278-85.

         A.    The Banks Fail to State a Claim for Injunctive Relief.

               1.    There is No Cognizable Claim for “Injunctive Relief.”

         The Banks may not pursue a standalone claim for “injunctive relief” because

“[a]n injunction is a remedy, not a cause of action.” Newman v. J.P. Morgan

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Chase Bank, N.A., No. 14-2944, 2015 WL 321442, at *9 (D. Minn. Jan. 26, 2015)

(citing Great–West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 211, n.1

(2002) (“[A]n injunction is inherently an equitable remedy”)). “[A]ny motion or

suit for either a preliminary or permanent injunction must be based upon a cause of

action . . . . There is no such thing as a suit for a traditional injunction in the

abstract.” Ala. v. U.S. Army Corps of Eng’rs, 424 F.3d 1117, 1127 (11th Cir.

2005) (internal quotation marks and citation omitted). The Banks’ injunctive relief

“claim” should therefore be dismissed.

             2.     The Banks are Not Entitled to the Remedy of Injunctive Relief.

      The remedy of “injunctive relief” is not available to the vast majority of the

Banks, which assert only negligence and negligence per se claims. Injunctive

relief is not a recognized remedy for these torts. Negligence and negligence per se

claims “cannot support an injunction because a necessary element of a negligence

claim is damage and an injunction seeks to prohibit future damage.” Goerlitz v.

City of Maryville, 333 S.W.3d 450, 455 (Mo. 2011) (en banc); see U.S. Army

Corps of Eng’rs, 424 F.3d at 1127 (because an injunction “is an extraordinary

remedy, it is available . . . only when . . . there is no adequate legal remedy and . . .

irreparable injury [will occur] if the injunction does not issue”).




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      The Banks’ request for injunctive relief also fails because it is based on a

speculative future data breach. See Goldstein v. Home Depot U.S.A., Inc., 609 F.

Supp. 2d 1340, 1348 (N.D. Ga. 2009) (no standing to pursue injunction where

plaintiff did not allege possibility of future injury). For injunctive relief, any

alleged future injury must be “imminent or ‘real and immediate’ and not merely

conjectural or hypothetical.”      Castaneira v. Perdue, No. 1:10-CV-3385-TWT,

2010 WL 5115193, at *2 (N.D. Ga. Dec. 9, 2010) (Thrash, J.) (quoting 31 Foster

Children v. Bush, 329 F.3d 1255, 1263 (11th Cir. 2003)). “There must be a

‘substantial continuing controversy’ between adverse parties and a ‘substantial

likelihood’ that the plaintiff will suffer injury in the future as a result of the alleged

unlawful actions.” Id. (quoting Malowney v. Fed. Collection Deposit Grp., 193

F.3d 1342, 1346-47 (11th Cir. 1999)). Although the Banks vaguely allege – in the

most conclusory form imaginable – that “[t]he risk of another such breach is real,

immediate, and substantial,” they have not pled a plausible “substantial likelihood”

of harm. Compl. ¶ 282. The breach that gave rise to this litigation has been

resolved. Id. ¶ 1. None of the Complaint’s allegations makes it plausible that there

is a “substantial likelihood” of an “imminent” injury to the Banks. And the Banks

do not identify any “substantial continuing controversy” between them and Home

Depot.


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      Furthermore, “[i]njunctive relief is only appropriate ‘when [a] legal right

asserted has been infringed,’ and there will be irreparable injury ‘for which there is

no adequate legal remedy.’” In re Atlas Roofing Corp. Chalet Shingle Prods.

Liab. Litig., No. 1:13-md-2495-TWT, 2015 WL 114285, at *2 (N.D. Ga. Jan. 8,

2015) (Thrash, J.) (quoting U.S. Army Corp of Eng’rs, 424 F.3d at 1127) (emphasis

in opinion). Even if Home Depot were to fall victim to another future security

breach, “[m]onetary damages would sufficiently compensate” the Banks for any

losses there as well as any losses allegedly already suffered as a result of the prior

security breach. Id. The Banks have alleged neither a basis nor a need for an

injunction in this case, and their claim should therefore be dismissed.

      B.     The Banks Fail To State A Claim For Declaratory Relief.
             1.    The Banks’ Declaratory Relief Claim Improperly Seeks a
                   Determination of Past Liability.

      The Banks’ declaratory relief claim fails because it focuses on alleged past

wrongs rather than the future relationship between the parties. As this Court has

recognized, “[d]eclaratory relief is appropriate when it is necessary to ‘protect the

plaintiff from uncertainty and insecurity with regard to the propriety of some future

act or conduct.’” Tiller v. State Farm Mut. Auto. Ins. Co., No. 1:12–CV–3432–

TWT, 2013 WL 451309, at *3 (N.D. Ga. Feb. 5, 2013) (quoting Henderson v.

Alverson, 123 S.E.2d 721 (Ga. 1962)) (Thrash J.), aff’d, 549 F. App’x. 849 (11th

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Cir. 2013) (emphasis added). “At the motion to dismiss stage, a ‘prayer for . . .

declaratory relief requires an assessment . . . of whether the plaintiff has

sufficiently shown a real and immediate threat of future harm.’” Id. (quoting

Elend v. Basham, 471 F.3d 1199, 1207 (11th Cir. 2006)) (emphasis added).

       The Banks’ declaratory relief claim does not address any “threat of future

harm” but instead is duplicative of their negligence claim. The Banks seek a

declaration that (1) Home Depot owed them a duty; (2) Home Depot breached that

duty; (3) the breach caused an injury to the Banks; and (4) the Banks suffered

damage as a result of that breach. Compl. ¶ 280. In other words, the Banks seek a

declaration that their negligence claim is meritorious. This is not an appropriate

declaratory relief claim. “Injury in the past . . . does not support a finding of an

Article III case or controversy when the only relief sought is declaratory

judgment.” Malowney, 193 F.3d at 1348. The Banks complain that Home Depot

failed to provide proper security leading up to the security breach, but if proven,

“all of these acts took place in the past, and could be redressed through legal

remedies.” Tiller v. State Farm Mut. Auto. Ins. Co., 549 F. App’x. 849, 855 (11th

Cir. 2013).12

12
   The Eleventh Circuit has held that “to receive declaratory or injunctive relief,
plaintiffs must establish that there was a violation [of the law], that there is a
serious risk of continuing irreparable injury if the relief is not granted, and the
                                        38
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            2.     The Association Plaintiffs Do Not Have Standing to Pursue a
                   Claim for Declaratory Relief.
      In addition to other infirmities with their declaratory relief claim, the

Association Plaintiffs do not have standing to assert this claim because individual

participation of their members is required. When the “nature of the claim require[s

the Court] to perform ‘an ad hoc factual inquiry for each’” association member, the

association does not have standing. Rivell v. Private Health Sys., Inc., 887 F.

Supp. 2d 1277, 1292 (S.D. Ga. 2012) (quoting Rent Stabilization Assoc. v. Dinkins,

5 F.3d 591, 596 (2d Cir. 1993)); see also Warth, 422 U.S. at 515-16.

      Here, among other individualized issues, the Association Plaintiffs ask the

court to rule that (1) Home Depot’s alleged breach caused an injury to all

association members and that (2) all association members suffered monetary

damages in connection with that injury that Home Depot must reimburse. Compl.

¶ 280. These findings simply cannot be made without an inquiry into the facts

about each association member. As such, the Association Plaintiffs’ declaratory

relief claim “requires the participation of individual members in the lawsuit” and

should therefore be dismissed on standing grounds.



absence of an adequate remedy at law.” Bolin v. Story, 225 F.3d 1234, 1242 (11th
Cir. 2000). The Banks have not – and cannot – allege an inadequate remedy at law
because this claim mirrors their negligence claim.

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IV.     THE BANKS’ STATUTORY CLAIMS MUST BE DISMISSED.

        In addition to their common law claims, the Banks assert state statutory

claims on behalf of eight state subclasses in Alaska, California, Connecticut,

Florida, Illinois, Massachusetts, Minnesota and Washington.13 Compl. ¶ 193. The

Banks’ statutory claims fail for the reasons set forth below.

        A.      The Banks’ Statutory Claims Fail for Lack of Standing.

        As an initial matter, these claims – like the Banks’ other claims – fail

because the Banks lack standing to assert them. As detailed above, the Banks lack

Article III standing, and all claims, including their state statutory claims, must be

dismissed. See, e.g., Prohias v. Pfizer, Inc., 485 F. Supp. 2d 1329, 1339 (S.D. Fla.

2007).       Each of the statutes the Banks invoke requires that the Banks plead

damages that are fairly traceable to Home Depot.14 Here, none of the Banks that

seek to invoke application of the specific state statutes have adequately pled


13
 The Banks expressly assert each statutory claim only on behalf of putative class
members located within the state. Compl. ¶ 193.
14
   Alaska Stat. Ann. § 45.50.531; Cal. Bus. & Prof. Code § 17204; Cal. Civil Code
§ 1798.84(b); Conn. Gen. Stat. § 42-110g(a); Fla. Stat. § 501.211; McLaughlin v.
LVNV Funding, LLC, 971 F. Supp. 2d 796, 802 (N.D. Ill. 2013) (“The failure to
allege specific, actual damages precludes a claim brought under the ICFA.”);
Weeks v. Harbor Nat. Bank, 388 Mass. 141, 144, n.2, 445 N.E.2d 605 (1983)
(“[D]amages are an essential element of the cause of action.”); Minn. Stat. Ann. §
325E.64; Wash. Rev. Code Ann. §§ 19.86.090, 19.255.020.

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damages or injury-in-fact traceable to Home Depot under the requirements of Iqbal

or Twombly.

       B.     The Banks’ Claims under the “Baby FTC Acts” Fail Because
              They Do Not Allege an Unfair or Deceptive Trade Practice.
       The Banks allege that Home Depot violated “Baby FTC Acts” in Alaska,

Connecticut, Florida, Illinois, Massachusetts and Washington. See Compl. ¶¶ 223-

77. Although elements and exceptions vary, each Baby FTC Act requires the

Banks to plead that Home Depot committed a deceptive act, an act of unfair

competition, or an unfair trade practice. These statutes look to the FTC Act and

federal law interpreting that Act for guidance.15

       First, the Banks have not alleged a deceptive act or an act of unfair

competition under Section 5 of the FTC Act or the Baby FTC Acts. To establish a

deceptive act under Section 5, the plaintiff must allege that the defendant made a

material representation or omission, or engaged in a practice, that is “likely to

mislead consumers.” FTC v. Stefanchik, 559 F.3d 924, 928 (9th Cir. 2009). These

allegations are nowhere to be found in the Complaint. For instance, the Banks do

15
  See State v. O’Neill Investigations, Inc., 609 P.2d 520, 533-34 (Alaska 1980);
Conn. Gen. Stat. § 42-110b(b); Dep’t of Legal Affairs v. Rogers, 329 So.2d 257,
263 (Fla. 1976); Saunders v. Mich. Ave. Nat’l Bank, 278 Ill. App. 3d 307, 313, 662
N.E.2d 602 (1996); McDermott v. Marcus, Errico, Emmer & Brooks, P.C., 775
F.3d 109, 116 (1st Cir. 2014); Magney v. Lincoln Mut. Sav. Bank, 659 P.2d 537,
545 (Wash. App. 1983).


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not allege that Home Depot made a material misrepresentation or omission “likely

to mislead consumers,” much less one sounding in fraud upon which the Banks

relied. And they also fail to allege any practice that likely misled consumers. See

FTC v. Lights of Am., Inc., 760 F. Supp. 2d 848, 853 (C.D. Cal. 2010). The Banks

likewise have not made a plausible claim that Home Depot engaged in unfair

competition.16

       The Banks also fail to plead a claim under the Baby FTC Acts’ unfair trade

practice prong.17 For example, Alaska’s Unfair Trade Practices and Consumer

Protection Act (“UTPCPA”) has an updated list of 57 current violative acts, not

one of which relates directly to the Banks’ allegations. See Alaska Stat. Ann. §

45.50.471. Given the recent increased emphasis on data security and the Alaska

legislature’s demonstrated willingness to identify new violative acts, the failure to

address data security in this context shows that the Alaska UTPCPA does not

support a claim based on the Banks’ allegations here.


16
  The Banks make only a half-hearted attempt to claim that Home Depot engaged
in unfair competition in violation of some of these statutes. Compl. ¶ 237. Even
more problematic than the paucity of the Banks’ allegations is the fact that an
unfair competition claim may only be asserted by an actual competitor, which the
Banks are not. See Sperry & Hutchinson Co., 405 U.S. at 244.
17
  Although interpretation and construction of these acts are guided by the federal
FTC Act and related case law, the exact standard varies on a state-by-state basis.

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      Connecticut, Illinois and Massachusetts, unlike Alaska, decline to list

specific deceptive or unfair acts. Nevertheless, the Banks do not allege that Home

Depot committed the sort of conduct within the ambit of the Connecticut Unfair

Trade Practices Act (“CUTPA”), the Illinois Consumer Fraud and Deceptive

Business Practices Act (“ICFA”), or the Massachusetts Consumer Protection Act

(“MCPA”).     Allegations of inadequate security do not satisfy an “established

concept of unfairness” standard, nor are they “immoral, unethical, oppressive, or

unscrupulous,” and thus do not state a claim under the CUTPA, ICFA, or the

MCPA. Parola v. Citibank (S. Dakota) N.A., 894 F. Supp. 2d 188, 205 (D. Conn.

2012) (internal citations omitted); Garrett v. RentGrow, Inc., No. 04 C 8309, 2005

WL 1563162, at *3, *4 (N.D. Ill. July 1, 2005); Jasty v. Wright Med. Tech., Inc.,

528 F.3d 28, 37 (1st Cir. 2008).

      Finally, the Banks’ claim under the Washington CPA is based on an attempt

to allege that Home Depot violated Wash. Rev. Code Ann. § 19.255.020. Compl.

¶¶ 273-77. However, as discussed below, these allegations fall flat.

      C.    The Banks Fail to Plead the Essential Elements in Several State
            Statutes.
            1.     The Banks’ Claims Fail Under California’s UCL and CRA.

      The Banks fail to plead that Home Depot engaged in any unlawful, unfair, or

fraudulent business act or practice, as required to state a claim under California’s

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Unfair Competition Law (“UCL”). An “unfair business practice” is one that either

offends an established public policy or is immoral, unethical, oppressive,

unscrupulous, or substantially injurious to consumers. See McDonald v. Coldwell

Banker, 543 F.3d 498, 506 (9th Cir. 2008). Leaving aside that the Banks are not

consumers, their allegations fall far short of meeting this standard.

      The Banks also fail to plead a UCL claim based on an alleged violation of

the California Customer Records Act (“CRA”). That statute may only be asserted

by customers, defined as “an individual who provides personal information to a

business for the purpose of purchasing or leasing a product or obtaining a service

from the business.” Cal. Civil Code §§ 1798.84(b), 1798.80(c). An “individual,”

in turn, is defined as a “natural person” and therefore does not include the Banks,

which were not customers of Home Depot in any event. Id. at 1798.80(c)(d). See

also Perea v. Walgreen Co., 939 F. Supp. 2d 1026, 1040 (C.D. Cal. 2013); Haskins

v. Symantec Corp., No. 13-cv-01834-JST, 2013 WL 6234610, at *7 (N.D. Cal.

Dec. 2, 2013) (dismissing claims under the UCL’s unlawful prong where plaintiff

did not plead a cause of action under any predicate statute). The Banks have failed

to plead a violation of the CRA and, as a result, cannot state a claim under the UCL

to the extent the UCL claim is premised on an alleged violation of the CRA.




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             2.     The Banks Fail to Plead a Valid Claim for Violation of the
                    Connecticut Unfair Trade Practices Act.
      To state a claim under CUTPA where a plaintiff alleges passive conduct,

there must be a legal duty between the plaintiff and the defendant to perform a

particular act. Downes-Patterson Corp. v. First Nat'l Supermarkets, Inc., 780 A.2d

967, 975 (Conn. App. 2001). Here, the Banks allege passive conduct, but for the

reasons set forth in Section II.B, they have failed to allege that Home Depot owed

them a duty. Accordingly, the Banks’ claim fails.

      Even if the Banks sufficiently pled a duty, their CUTPA claim should still be

dismissed to the extent that it is based on alleged mitigation damages. As set forth

in Section I, those costs are not the proximate result of Home Depot’s alleged

conduct. See Artie’s Auto Body, Inc. v. Hartford Fire Ins. Co., 947 A.2d 320, 330

(Conn. 2008) (noting that a CUTPA claim requires the plaintiff to establish that

“the ascertainable loss was caused by, or ‘a result of,’ the prohibited act”).

             3.     The Banks Are Not “Consumers” under the Florida Deceptive
                    and Unfair Trade Practices Act.

      The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)

authorizes businesses to bring an action under the statute only if the alleged

violative act occurred when the business was acting as a consumer. See Carroll v.

Lowes Home Ctrs., Inc., No. 12-23996-CIV, 2014 WL 1928669, at *4 (S.D. Fla.


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May 6, 2014) (corporate plaintiff fails to allege that it has “engaged in the purchase

of goods or services from [defendant]; therefore, the pleadings have not alleged

[plaintiff is a] consumer under FDUTPA”); see also Pinecrest Consortium, Inc. v.

Mercedes-Benz USA, LLC, No. 13-20803-CIV, 2013 WL 1786356, at *2 (S.D. Fla.

Apr. 25, 2013) (corporation has no standing under FDUTPA for claim against

supplier). Here, the Consumer Plaintiffs, not the Banks, made purchases from

Home Depot, and it is the Consumers’ information that was allegedly the subject

of the data breach. The Banks allege harm as a result of their corporate operations

as payment card issuers, not as consumers. Because the Banks were not acting as

consumers within the meaning of the statute, their FDUTPA claim fails.

             4.    The Washington Sub-Class Has No Claim Under Either
                   Washington Statute.

      The Banks’ Washington CPA claim rests entirely on allegations that Home

Depot violated Wash. Rev. Code Ann. § 19.255.020, resulting in a per se violation

of the CPA.       Compl. ¶¶ 273-277.          However, the plain language of §

19.255.020(2)(b) exempts a merchant from liability if:

      the processor, business, or vendor was certified compliant with the
      payment card industry data security standards adopted by the payment
      card industry security standards council, and in force at the time of the
      breach.




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The Banks fail to plausibly allege that their claim falls outside of § 19.255.020’s

exemption for PCI-DSS compliance. The Banks plead that Home Depot hired a

Qualified Security Assessor in 2011 and 2012 and some security concerns were

identified by the auditors in 2011 and by Home Depot staff in 2012. See Compl.

¶¶ 177-78. But the Banks say no more. Section 19.255.020(2)(b) expressly states

that a business cannot be liable under the statute if its PCI-DSS compliance “was

validated by an annual security assessment, and if this assessment took place no

more than one year prior to the time of the breach.” The Banks stop noticeably

short of mentioning Home Depot’s October 2013 PCI-DSS certification.

            5.     The Minnesota Sub-Class’s Claim Fails as a Matter of Law.

      To state a valid claim under the Minnesota Plastic Card Security Act

(“MPCSA”), the Banks must plead that a breached party retained certain financial

data subsequent to 48 hours after authorization of the transaction. Minn. Stat. Ann.

§ 325E.64. They specifically must allege that Home Depot retained consumers’

card security code data, PIN verification code number, or the full contents of any

track of magnetic stripe data. Id. The Banks do not meet this requirement.

      Rather than expressly allege that Home Depot retained consumer data that

the MPCSA’s protects, the Banks list the types of personally identifiable

information (“PII”) that merchants, as a general proposition, conceivably could


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retain, including the MPCSA’s protected financial data. See Compl. ¶ 88. In the

very next paragraph, the Banks state only that Home Depot retained “massive

amounts of PII about its customers.” Id. at ¶ 89. This imprecise pleading avoids

identifying whether Home Depot allegedly stored the sort of financial data that the

MPCSA seeks to protect for the statutory period and instead requests that the Court

accept the Banks’ pleading by implication. The Banks’ only other allegations

concerning the storage of PII are conclusory and do not support their claim. See

Iqbal, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.”). That is, the Banks

state that Home Depot “inappropriately stored cardholder data,” see id. at ¶ 171,

and then track the language of the MPCSA to say Home Depot stored financial PII

for the statutory period. See id. at ¶ 265. Because the Banks fail to plead an

essential element of the MPCSA, their claim fails as a matter of law.

V.     MANY OF THE BANKS’ CLAIMS ARE NOT RIPE.

       Because a substantial portion of the “injuries” that the Banks allege – such

as “refunding fraudulent charges”18 – are potentially recoverable through the

ongoing Card Brand Recovery Process (see, e.g., PSECU, 2006 WL 1724574, at


18
  The cost of reissuing cards that have allegedly incurred fraud charges falls
within the fraudulent charges category.

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*4), the Banks’ claims are not ripe and should be dismissed. No Bank alleges that

it has completed the process and, therefore, no Bank can identify or plausibly

allege any specific fraud losses or other expenses unreimbursed through the Card

Brand Recovery Process. “The ripeness doctrine, which is somewhat related to the

standing doctrine, requires the plaintiff to demonstrate that: (1) it will sustain

injury from the challenged action, (2) this injury would be redressed by the relief

requested, and (3) the court’s ability to resolve the issues presented would not be

advanced by waiting until [an] uncompleted even[t] occurs.” In re Seven Springs

Apartments Phase II, 34 B.R. 987, 998 (N.D. Ga. 1983) (citing Duke Power Co. v.

Carolina Envtl. Study Grp., Inc., 438 U.S. 59, 81-82 (1978)). “‘The doctrine seeks

to avoid entangling courts in the hazards of premature adjudication.’” Digital

Props., Inc. v. City of Plantation, 121 F.3d 586, 589 (11th Cir. 1997) (citation

omitted).

      The Card Brand Recovery Process is not yet complete, and the Court’s

ability to ultimately assess liability, if any, would be advanced by waiting until it is

completed. See Digital Props., 121 F.3d at 589; In re Seven Springs, 34 B.R. at

999. It is of no import whether the Banks agree with the Card Brand Recovery

Process. What matters is that, until that process plays out, no Bank can plausibly




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allege that it has any unreimbursed fraud losses or other expenses. As a result,

many of the Banks’ claims are not ripe and should be dismissed.

                                 CONCLUSION

      For the reasons set forth above, the Court should grant Home Depot’s

Motion and dismiss the Banks’ claims with prejudice.

      Respectfully submitted this 1st day of July, 2015.

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1D, the undersigned certifies that the foregoing complies

with the font and point selections permitted by L.R. 5.1B. This Motion was

prepared on a computer using the Times New Roman font (14 point).

      Respectfully submitted, this 1st day of July, 2015.

                                 By: /s/ Cari K. Dawson
                                     CARI K. DAWSON
                                     Georgia Bar Number 213490
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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the

foregoing was filed on July 1, 2015 with the Court and served electronically

through the CM-ECF (electronic case filing) system to all counsel of record

registered to receive a Notice of Electronic Filing for this case.


                                   By: /s/ Cari K. Dawson
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